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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

       UNITED STATES OF AMERICA                           §
                                                          §
       v.                                                 §        No. 4:20CR212
                                                          §        Judge Mazzant
       DEBRA LYNN MERCER-ERWIN (1)                        §

                                               ORDER
             The Court having considered the United States’ Motion to Allow Testimony of

      Casey Sullivan (Dkt. #428) at Jury Trial, it is hereby
.
             ORDERED that United States’ Motion shall be GRANTED nd that Casey

      Sullivan’s testimony be allowed.

             IT IS SO ORDERED.
            SIGNED this 18th day of April, 2023.




                                         ___________________________________
                                         AMOS L. MAZZANT
                                         UNITED STATES DISTRICT JUDGE
